                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION


 MOBILITY WORKX, LLC,

                               Plaintiff,
                                                   Civil Action No.: 4:17-CV-00872-ALM
                v.

 CELLCO PARTNERSHIP D/B/A                          JURY TRIAL DEMANDED
 VERIZON WIRELESS,

                               Defendant.


                                    [PROPOSED] ORDER

       Before the Court are Defendant Cellco Partnership d/b/a Verizon Wireless’s (“Verizon”)

supplemental motions in limine. Having considered the parties’ briefing, the Court finds that

Verizon’s supplemental motions in limine should be and hereby are GRANTED. The following

are excluded:

       Exclude evidence and arguments on witness tampering in prior cases.

       Exclude any suggestion that Verizon’s counsel was under an obligation to inform Mobility

Workx of previous litigation history.
